          Case 3:08-cr-00094-LRH-VPC                   Document 53         Filed 07/31/09                   Page 1 of 5
Ao2758 tRev.09/08)Judgmentlnacriminalcase
         Sheet1                .   ... .-- -.- -          ..... -                     . . .--- - -.-... .



                                           U NITED STA TES DISTRICT CO U RT                      z''FILED
                                                                                                 s                              cEcElvEn
                                                                                                        ENTERED                 sEqvE0ON
                                                   I)lS17Tt1(2T ()F IVEVO A                                         CCLdSEU?AFTIESOFRE$ûi2

IJNITED STATESOFAMERICA                      JUDGM ENT IN A CRIM INAL CAS                                      JCL 3 1 m
               VS.
JAMESPHILIPFRAZIER                           CASENUM BER:           3:08-cr-94-LRH( C)
                                             U SM NUM BER:          43130-048                               ctEqxUsDISTRICTc0uRT
                                                                                                              DISTRIW OFNEVADA
                                             ChervlField-Lana                              BY:                           ..      nEptlyy
TH E DEFENDANT:                              DEFENDANT'SAW ORNEY

(/4 pledguiltytoCount5ofthelndictment
( ) plednolocontenderetocountts)                                              whichwasacceptedbythecourt.
( ) wasfoundguilty oncountts)                                                 afterapleaofnotguilty.
Thedefendantisadjudicated guilty oftheseoffensetsl:
                                                                                  Date
Title& Section                Nature ofO ffense                                   O ffense Ended                            Count

26U.S.C.5861(e)               Transferofan Unregistered Firearm                   M arch 7,2008                             5
18 U .S.C .2                  Aiding and Abetting




       Thedefendantissentencedasprovidedinpages2through 5 ofthisjudgment.Thesentenceisimposedpursuant
to theSentencing Reform Actof 1984.

( ) Thedefendanthasbeenfoundnotguiltyon countts)
(/) Counts4and 6 aredismissedontbemotion oftheUnited States.
       IT IS ORDERED thatthedefendantm ustnotif.ythe United StatesAttorney forthisdistrictw ithin 30 daysofany
change ofnam e,residence,orm ailing address untilallfines,restitution,costs,and specialassessments im posed by this
judgmentarefullypaid. lforderedto payrestitution,thedefendantmustnotifjzthecourtand United Statesattorney'of
m aterialchangesin econom iccircum stances.
                                                                    JULY 2 9 : 2009
                                                                    Date oflmposition ofJudgment

                                                                                  %




                                                                    Signa u ofJudge

                                                                    LA RRY R.H ICK S
                                                                    U .S.DISTRICT JUD GE
                                                                    Nam eand Title ofJudge

                                                                       -z/p</:ç
                                                                    Date
           Case 3:08-cr-00094-LRH-VPC            Document 53       Filed 07/31/09      Page 2 of 5
AO 2458 (Rev.09/08)JudgmentinaCriminalCase
         Sbeet2-Imprisonment
DEFENDANT:               JAM ES PHILIP FRAZIER                                                Judgm ent-Page 2
CASE NUM BER:            3:08-cr-94-LRH(VPC)
                                               IM PR ISO N M EN T

        Thedefendantishereby comm itted tothecustody oftheUnited StatesBureau ofPrisonsto beimprisoned foratotal
tenn of:TIM E SERV ED




        The courtmakesthe following recomm endationstothe Bureau ofPrisons:




        The defendantisremandedto the custody ofthe United StatesM arshal.

        The defendantshallsurrenderto theUnited StatesM arshalforthisdistrict:
        ()       at               a.m./p.m.on
        ()       asnotitiedby theUnited StatesMarshal.
        The defendantshallsurrenderforservice ofsentence atthe institution designated by the Bureau ofPrisons:
        ()       before2 p.m.on
        ()       asnotifiedby theUnited StatesMarshal.
        ()       asnotitiedby theProbationofPretrialServicesOffice.
                                                    R ET UR N

Ihaveexecutedthisjudpnentasfollows:




        Defendantdelivered en                                to
at                                                                        ,withacertifiedcopyofthisjudgment.

                                                             UN ITED STATES M ARSHAL


                                                                      Deputy United StatesM arshal
           Case 3:08-cr-00094-LRH-VPC                    Document 53           Filed 07/31/09          Page 3 of 5
AO 2458 (Rev09/08)JudgmentinaCriminalCase
         Sheet3 -SupervisedRelease
DEFENDANT:                JAM ES PHILIP FRAZIER                                                               Judgment-Page 3
CASE NUM BER:             3:08-cr-94-LRH(VPC)
                                                  SU PER VISED RELEA SE

        Upon releasefrom imprisonment,thedefendantshallbeon supervised release fora term ofTHREE (3)YEARS

        Thedefendantm ustreportto the probation office in thedistrictto whichthe defendantisreleased within 72 hours
ofrelease from the custody oftheBureau ofPrisons.

Thedefendantshallnotcom mitanotherfederal,state,orlocalcrim e.

Thedefendantshallnotunlawfully possessa controlled substance. The defendantshallrefrain from any unlawfuluse ofa
controlled substance.Thedefendantshallsubm itto one drug testw ithin 15 daysofrelease from im prisonm entandatleast
hvo periodic drug teststhereafter,notto exceed 104 drug testsannually. Revocation ismandatory forrefusalto comply.

        Theabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatthedefendantposesa Iow risk
        offuturesubstanceabuse.(Check,ifapplicable.)
        Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,
        ifapplicable.)
(J)     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(Check,ifapplicable.)
()      ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(42 U.S.C.
        j 16901,etseq.jAsdirectedby theprobation officer,theBureau ofPrisons,orany statesex offenderregistration
        agency in which he orshe resides.,works,isa student,orwas convicted ofa qualifying offense. (Check,if
        applicable.)
        Thedefendantshallparticipateinanapprovedprogram fordomesticviolence.(Check,ifapplicable.)
       lfthisjudgmentimposesa fine orarestitution,itisacondition ofsupervised release thattbe defendantpay in
accordancewiththeScheduleofPaymentssheetofthisjudgment.
        Thedefendantm ustcom ply with the standard conditionsthathave been adopted by thiscourtasw ellaswith any
additionalconditionson the attached page.

                                      STANDARD CONDITIO NS O F SUPERVISION

        thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecouftorprobationofficer'
                                                                                                    e
        tbedefendantshalireporttotheprobationofficerandshallsubm itatruthfulandcompletewrittenreportwithinthetirstiivedaysofeachmonth:
        the defendantshallanswertruthfully al1inquiriesb)'theprobation ofticerand foliow theinstructionsoftheprobationofficer'
        thedefendantshallsuppollhisorherdependantsandm eetotherfamily responsibilities'    ,
        thedefendantshallworkregularly atalawfuloccupation unlessexcused bytheprobation oflicerforschooling.trainingsorotheracceptable
        reasons'
               .
        thedefendantshallnotify theprobation ofticeratleasttendayspriorto any changein residence oremploymcnt. '
        thedefendantshallrefrainfrom excessiveuseofalcoholandshallnotpurchase possess,use.distributeoradministeranycontrolled substance
        oraayparaphernaliarelatcdto any controlled substances,exceptasprescribed by aphysician',
        thedefendantshallnotfrequentplaceswhere controlled substancesare illegally sold.used distributed oradministered'
        thedefendantshallnotassociatewith any personsengaged in criminalactivity and shallnotassociatewith anyperson convictedofafelony
        unlessgranted pcrmissionto doso by theprobation oflicer.'
        the defendantshallpermita probation ofticerto visithim orheratany tim e athome orelsewhere and shallperm itconfiscation ()f any
        contraband observed in plain view oftheprobation officer;
        thedefendantshallnotifytheprobation ofticerwithin scventy-two hoursofbeing arrested orquestioned by alaw cnforcementofficcr;
        thedefendantshallnotenterinto anyagreemcntto actasan informeroraspecialagentofalaw enforccmentagencywithoutthepermission
        ofthe court.
                   'and
        asdirectedbytheprobation officer.thedefendantshallnotify third partiesofrisksthatmaybeoccasionedbythedefcndant'scriminalrccord
        or personalbisto!y orcharacteristics and shallpermitthe probation oflicerto make such notifications and to contirm the defendant's
        compliancewith suchnotification requiremcnt.
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AO 2458 (Rev.09/08)JudjmentinaCriminalCase
         Sheet3 -SupervlsedRelease
DEFEN DAN T:             JAM ES PHILIP FRAZIER                                                 Judgment-Page 4
CASE NUM BER:            3:08-cr-94-LRH(VPC)
                                      SPECIAL CONDITIO NS OF SUPERVISIO N

        Possession ofW eaoon -The defendantshallnotpossess,haveunderhis/hercontrol,orhaveaccessto any firearm ,
        explosive device,orotherdangerousweapons,asdefined by federal,state orlocallaw .

        W arrantlessSearch -The defendantshallsubmithis/herperson,propertj,,residence,placeofbusinessand vehicle
        underhis/bercontrolto asearch,conducted by the United Statesprobation officerorany authorized person under
        the im mediate and personalsupervision ofthe probation oflicer,atareasonable tim e and in a reasonablem anner,
        based upon reasonable suspicion ofcontraband orevidenceofa violation ofa oondition ofsupe> ision. Failureto
        subm itto asearch may be groundsforrevocation. Thedefendantshallinform any otherresidentsthattheprem ises
        may besubjectto asearch pursuanttothiscondition.
        Substance Abuse Treatment - The defendant shallparticipate in and successfully complete a substance abuse
        treatment and/or cognitive based life skills program ,which w illinclude drug/alcoholtesting and outpatient
        counseling,asapproved and directed by theprobation officer.Further,the defendantshallberequired tocontribute
        to the costsofservicesfor such treatment,as approved and directed by the probation officer,based upon his/her
        ability to pay.

        AlcoholAbstinence-Defendantshallrefrain from the use and possession ofbeer,wine,liquorand otherfonnsof
        intoxicants.

5.      Communiw Selwice -The defendantshallcomplete FIFTY (50)hoursofcommunity service,asapproved and
        directed by theprobation ofticer.

6.      Life Skills - Defendantshallparticipate in and successfully com plete a cognitive based life skills program,as
        approved and directed by the probation ofticer.

        Hom eConfinementW ith LocationM onitorinz-Thedefendantshallbe confinedto homeconfinementwith Iocation
        monitoring,foraperiodofFIVE (5)M ONTHScommencingon releasefrom StateofNevadacustody.Defendant
        shallnotleavehisconfinem entresidenceexceptforapprovedleavebytheCourtortheprobation officerforreligious,
        em ploym entormedicalreasonsorotherspecified tim es.The defendantshallmaintain atelephone athis/herplace
        ofresidencew ithout:f allFom ardinp''ç1Cal1W aitingr''or:ûCallBaclt/callBlock''selwicesforthe above period.
        The defendantshallweara location monitoringdevice and follow the location monitoring proceduresspecified by
        the U.S.Probation Office.The defendantshallpay to thelocation contracting senzicethe fullamountofthe costof
        locationm onitoringservices.Thedefendantshallalsopayfordam aged,destroyed,orunreturnedlocationm onitoring
        equipm entatacostto bedeterm inedby theprobation officer.lfam edicalorfam ilyemergency Ieaveoccursw ithout
        approvalofthe Courtorprobation ofticer,thedefendantm ustprovideproofofthe em ergency imm ediately to the
        probation officer.
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AO 2458 (Rev09/08)Judgmentin aCri
                                m lnalCase
         Sheet5-CriminalM onetaryPenalties
DEFENDAN T:               JAM ES PHILIP FRAZIER                                                  Judgm ent-Page 5
CASE NUM BER:             3:08-cr-94-LRH(VPC)
                                             CR IM INA L M O N ETA RY PENA LTIES

        The defendantm ustpay thetotalcrim inalm onetary penaltiesunderthe schedule ofpaymentson Sheet6.

                                    Assessm ent                    Fine                        Restitution

        Totals:                     $100.00                        SW AIVED                    $1ç/74
                                    Dueand payable im mediately.

        On motion by theGovernm ent,IT IS O RDERED thatthe specialassessm entimposed by the Courtisrem itted.

        The determ ination ofrestitution isdefen'
                                                ed until                      . An Am ended Judgmentin a Crim inalCase
        (AO 245C)willbeentered aftersuchdetermination.
        Thedefendantshallmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlisted
        below .

        lfthedefendantm akesa partialpayment,each payee shallreceivean approximately proportioned paym ent,uniess
        specifiedothenvise inthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto 18U.S.C.j
        366441),a11nonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
Nam eofPavee                                   TotalLoss           Restitution Ordered         Priorit'
                                                                                                      v ofPercentaee

Clerk,U .S.DistrictCourt
Attn:FinancialOfficer
CaseNo.
333 LasVegasBoulevard,South
LasVegas,NV 89101

TOTALS                                         $                   $


Restitutionamountorderedpursuanttopleaagreement: $

Thedefendantmustpay interestonrestitution and afineofmorethan$2,500,unlesstherestitutionortineispaid infull
beforetheGfteenthday afterthedateofjudgmenk pursuantto 18U.S.C.j3612(9.Al1ofthepaymentoptionson Sheet6
may besubjectto penaltiesfordelinquency and default,pursuantto l8 U.S.C.j3612(g).
The courtdeterm ined thatthedefendantdoesnothavethe abilitjzto pay interestand itisordered that:

        theinterestrequirementiswaivedforthe: ( )Gne ( )restitution.
        theinterestrequirementforthe: ( )fine ( )restitutionismodifiedasfollows:




*Findings forthe totalamountoflossesare required underCbapters l09A,110,1IOA,and 113A ofTitle 18 foroffenses
comm itted on orafterSeptember13,1994 butbefore April23,1996.
